Case 2:25-cv-01963-MEF-MAH   Document 284-14   Filed 06/05/25   Page 1 of 13
                              PageID: 3534




                    Exhibit 1
Case 2:25-cv-01963-MEF-MAH               Document 284-14         Filed 06/05/25      Page 2 of 13
                                          PageID: 3535



                      UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY
____________________________________________

Mahmoud KHALIL,

               Petitioner,                                            Case No. 25-cv-01963
                                                                      (MEF-MAH)
       v.

Donald J. TRUMP, in his official capacity as
President of the United States; William P. JOYCE, in
his official capacity as Acting Field Office Director of
New York, Immigration and Customs Enforcement;
Yolanda PITTMAN, in her official capacity as
Warden of Elizabeth Contract Detention Facility;
Caleb VITELLO, Acting Director, U.S. Immigration
and Customs Enforcement; Kristi NOEM, in her
official capacity as Secretary of the United States
Department of Homeland Security; Marco RUBIO,
in his official capacity as Secretary of State; and
Pamela BONDI, in her official capacity as Attorney
General, U.S. Department of Justice,

                  Respondents.
____________________________________________

                     DECLARATION OF CHRISTOPHER J. LE MON

       I, CHRISTOPHER J. LE MON, declare under penalty of perjury, pursuant to 28 U.S.C.
§ 1746, that the following is true and correct to the best of my knowledge:

        1.     I submit this declaration in connection with Petitioner Mahmoud Khalil’s motion
for a preliminary injunction in his above-captioned habeas corpus case. In particular, I address an
issue before the Court of whether it is in the “public interest” for noncitizens to be subject to the
determination of the Secretary of State that the individual’s continued presence or activities in
the United States would “compromise a compelling foreign policy interest” (See Memorandum
from Marco Rubio, Secretary of State, to Kristi Noem, Secretary of Homeland Security (“Rubio
Determination”) (ECF 198-1), at 1, where the activities in question amount to constitutionally
protected expression.

         2.     As a former senior White House, National Security Council, and State
Department official with significant international relations and foreign policy experience,
including analyzing, assessing, promoting, and protecting internationally-recognized human
rights, I believe Secretary Rubio’s use of the Determination to punish nonviolent student speech
and activism is contrary to internationally-recognized human rights, contrary to longstanding


                                                  1
Case 2:25-cv-01963-MEF-MAH              Document 284-14          Filed 06/05/25      Page 3 of 13
                                         PageID: 3536



bipartisan U.S. foreign policy and national interests, and contrary to fundamental American
values as set forth in the U.S. Constitution and as expressed vocally by Presidents of both parties
and by America’s founders. The longstanding and bipartisan American tradition and foreign
policy objective of promoting and respecting the fundamental human right to freedom of
expression and opinion, particularly speech that expresses dissent from U.S. foreign policy,
overwhelmingly demonstrates that the Rubio Determination and the arrest, detention, and
attempted deportation of Petitioner is in fact contrary to the public interest of the United States.

        3.       The arrest, detention, and attempted deportation of Petitioner, and his deprivation
of liberty solely as a response to his protected speech, beliefs, and/or opinions, is antidemocratic
activity that is commonplace in any number of autocratic countries whose abuses I monitored
and sought to prevent when I served at the White House and Department of State, including
countries like Egypt, Saudi Arabia, or the United Arab Emirates. For decades, the U.S.
Government has condemned the similar autocratic tactic of silencing critics through arrest,
detention, or deportation, as being contrary to internationally-recognized human rights and as
contrary to longstanding, bipartisan U.S. foreign policy interests in promoting and protecting
these universal rights worldwide, regardless of the citizenship status of the individual exercising
those rights.

                                 Background and Qualifications

        4.      I have over 20 years’ experience in international law and policy, including as a
senior U.S. Government official. I served as Deputy Assistant Secretary in the Bureau of
Democracy, Human Rights, and Labor at the U.S. Department of State between January 2021
and January 2025, where I oversaw the offices of Near Eastern Affairs and Security and Human
Rights. Previously, from 2017 to 2021 I was the Washington Director at Crisis Action, an
international human rights advocacy NGO. I served on the National Security Council staff at the
White House from 2016 to 2017 as Special Assistant to the President and Senior Advisor for
Multilateral Affairs and Human Rights, and from 2013 to 2014 as Director for Multilateral
Affairs. From 2014 to 2017, I served at the White House as Special Assistant to the President for
Presidential Personnel (National Security), and from 2009 to 2013 I served as Senior Advisor in
the Bureau of International Organization Affairs at the Department of State. Prior to my public
service, I was an international lawyer in private practice from 2004 to 2009, and from 2003 to
2004 I clerked for Judge Thomas Buergenthal at the UN International Court of Justice. I
received my law degree from New York University School of Law, and received my B.A. from
the University of California, Santa Cruz, and am a member of the Council on Foreign Relations.

          The Public Interest in Safeguarding Free Expression Rights of Dissenters
                            and Preventing Arbitrary Detention

        5.      I understand the basic facts surrounding Mr. Khalil’s case from the publicity that
his case has generated, and from the widely-publicized news media reporting about other
similarly situated noncitizen students who have been detained by ICE and been subject to




                                                  2
    Case 2:25-cv-01963-MEF-MAH                 Document 284-14             Filed 06/05/25         Page 4 of 13
                                                PageID: 3537



deportation pursuant to the Rubio Determination. In preparing this declaration, I further
reviewed the publicly-accessible Rubio Determination, which comprises only three paragraphs.1

        6.      As I understand the facts of this case, Mr. Khalil is a Syrian national of
Palestinian ancestry and a Legal Permanent Resident of the United States who was a student
pursuing a graduate degree in Public Administration at Columbia University’s School of
International and Public Affairs. On campus, he became a prominent advocate and spokesperson
for Palestinian human rights, and a strong critic of Israel’s military campaign in Gaza following
the Hamas terrorist attacks of October 7, 2023, as well as a critic of the support the United States
government – and he believed, Columbia University itself – has provided to Israel’s military
campaign. In other words, Mr. Khalil, as a Palestinian student enrolled at Columbia University,
vociferously disagreed with, dissented from, and strongly and vocally spoke out against U.S.
foreign policy toward Israeli-Palestinian issues, and against what he perceived as his university’s
support for that policy. I am unaware of any credible evidence that Mr. Khalil personally
engaged in any activities involving violence, or that he personally engaged in any antisemitic
conduct or speech. I am of course aware that antisemitic speech and conduct has occurred at
some student protests against Israel’s military campaign, which I strongly and unreservedly
condemn.2

        7.       In reviewing the Rubio Determination, I understand Secretary Rubio has
determined that “the activities and presence” of Mr. Khalil in the United States “would have
potentially serious adverse policy consequences,” which the Secretary based on a conclusion that
the protests Mr. Khalil was alleged to be engaged in were “antisemitic” and “disruptive,” such
that Mr. Khalil’s continued presence in the United States would “undermine U.S. policy to
combat anti-Semitism around the world and in the United States, in addition to efforts to protect
Jewish students from harassment and violence in the United States.” However, nowhere does the
Rubio Determination accuse Mr. Khalil of committing any crime, of engaging in any acts of
violence, of posing any physical danger or harm to anyone, or of personally engaging himself in
any antisemitic speech or conduct. Nor does the Rubio Declaration accuse Mr. Khalil of any
specific or concrete actions that would undermine a foreign policy interest of the United States. I
am unaware of any accusation or suggestion that Mr. Khalil’s speech sought to or did incite
violence or other unlawful conduct. Instead, the basis of the Rubio Determination, and of the
United States’ arrest, detention, and attempted deportation of Mr. Khalil (and other students),
appears exclusively to stem from Mr. Khalil’s exercise of his constitutionally-protected rights to
dissenting speech, nonviolent protest activity, and nonviolent advocacy that criticized U.S. and
Israeli policy, and it appears that it is in fact this exercise of rights that the Trump administration
finds objectionable.


1
         However, I am unaware of and thus have not reviewed any publicly available substantive legal or policy
analysis by the U.S. Government that would support the Rubio Determination’s sweeping conclusions.
2
          As detailed in this Declaration, alongside my strong condemnation of any and all antisemitic speech or
conduct (and of all hate speech, no matter the target), I do not believe nonviolent expression is legitimate grounds
for legal punishment (including deportation), given First Amendment protections. Nor do I believe that the
existence of such condemnable speech or conduct on U.S. soil produces adverse foreign policy consequences for the
United States that are not far outweighed by the adverse foreign policy consequences to accrue were the U.S.
Government to punish such nonviolent free expression through detentions, deportations, or other deprivations.

                                                         3
    Case 2:25-cv-01963-MEF-MAH                  Document 284-14              Filed 06/05/25          Page 5 of 13
                                                 PageID: 3538



        8.      It is important to highlight that the weaponization by the Trump administration
and others of the term “antisemitism” to target individuals nonviolently criticizing policies of the
Israeli government not only violates the right to freedom of expression and undermines
democratic debate, but also recklessly erodes the moral clarity needed to confront the sincerely
worrying rise in actual antisemitism worldwide, making the fight against that scourge even more
difficult by diluting and politicizing the underlying principle.

                            The Historical Importance of Human Rights
                    as an Element of U.S. Foreign Policy and as a Public Interest

        9.       From the early words of the Declaration of Independence to the first sentence of
the Bill of Rights, certain fundamental rights rest indisputably at the heart of American history
and America’s identity as a nation. Reflecting on the centrality of human rights to America’s
founding, President Carter observed that “America did not invent human rights. In a very real
sense, it is the other way round. Human rights invented America.”3

        10.     Nearly two centuries after the founding of the United States, the robust American
constitutional tradition of protecting free expression and free assembly drove the United States to
lead in crafting and promoting the now universally-recognized international human rights norms
around these and other fundamental freedoms following the Second World War, including the
adoption of the Universal Declaration of Human Rights (“UDHR”) in 1948 and the International
Covenant on Civil and Political Rights (“ICCPR”) in 1966. Over nearly eight decades since the
concept of human rights became an international legal reality, Presidents of both parties – despite
at times wide differences in foreign policy priorities across administrations – nonetheless
consistently have asserted that the promotion and protection of human rights is not just an
essential U.S. foreign policy interest,4 but is central to American identity.5 Democratic and

3
         Remarks by President Carter, Jan. 14, 1981.
4
           See, e.g., Remarks by President Carter, Dec. 6, 1978 (“human rights are not peripheral to the foreign policy
of the United States… Human rights is the soul of our foreign policy. And I say this with assurance, because human
rights is the soul of our sense of nationhood.”); Remarks by President Reagan, Dec, 10, 1985 (“The United States
will never cease to be in the forefront of the noble battle for human rights.”); Remarks by President Clinton, Dec. 9,
1997 (“advancing human rights must always be a central pillar of America’s foreign policy”); Remarks by President
Obama, May 19, 2011 (“The United States supports a set of universal rights. And these rights include free speech,
the freedom of peaceful assembly, the freedom of religion, equality for men and women under the rule of law, and
the right to choose your own leaders… Our support for these principles is not a secondary interest. Today I want to
make clear that it is a top priority that must be translated into concrete actions, and supported by all of the
diplomatic, economic and strategic tools at our disposal”); Remarks by President Biden, Aug. 16, 2021 (“I have
been clear that human rights must be at the center of our foreign policy, not the periphery.”).
5
          See, e.g., Remarks by President Eisenhower, Jun. 4, 1958 (“Basic to our democratic civilization are the
principles and convictions that have bound us together as a nation. Among these are personal liberty, human rights,
and the dignity of man.”); Remarks by President Carter, Jan. 19., 1978 (“The very heart of our identity as a nation is
our firm commitment to human rights… The world must know that in support of human rights, the United States
will stand firm.”); Remarks by President Reagan, Dec. 3, 1987 (“The United States declared its independence with a
document that proclaimed rights to be inalienable gifts from God, not just those who could make it to our shores but
to all people, everywhere.”); Remarks by President Bush, Jan. 29, 2002 (“America will always stand firm for the
non-negotiable demands of human dignity: the rule of law; limits on the power of the state; respect for women;
private property; free speech; equal justice; and religious tolerance. America will take the side of brave men and

                                                           4
    Case 2:25-cv-01963-MEF-MAH                   Document 284-14              Filed 06/05/25          Page 6 of 13
                                                  PageID: 3539



Republican Presidents alike also have insisted that, aside from the inalienability and intrinsic
value of human rights, improving respect for human rights at home and abroad advances other
U.S. national interests and buoys U.S. credibility and global standing,6 and have warned that
diminished respect for human rights poses serious national security risks for the United States
and the world.7 Of course, every Presidential administration without exception has taken foreign
policy decisions that deviated at times from its publicly-stated commitment to prioritize human
rights. But the Trump administration stands all but alone in recent American history in
suggesting that the exercise or defense of human rights, whether domestically or internationally,
is contrary rather than fundamental to U.S. foreign policy or to U.S. national interests; indeed,
every other President in recent memory has asserted the exact opposite. Among America’s chief
diplomats, the same is true: a survey of public remarks by Secretary Rubio’s predecessors over
the past several decades demonstrates remarkably consistent public commitment8 to the
importance of human rights in U.S. foreign policy by previous Secretaries of State across
administrations of both parties, making the Trump administration’s public and transparent
abandonment of this principle even more ahistorical and appalling.9

women who advocate these values around the world, including the Islamic world, because we have a greater
objective than eliminating threats and containing resentment. We seek a just and peaceful world.”)
6
         See, e.g., Remarks by President Reagan, Dec. 10, 1985 (“Respect for human rights is essential to true peace
on Earth. Governments that must answer to their peoples do not launch wars of aggression. That’s why the
American people cannot close their eyes to abuses of human rights and injustice, whether they occur among friend
or adversary or even on our own shores.”); Remarks by President Clinton, Dec. 9, 1997 (“As long as America is
determined to stand for human rights, then free people all around the world will choose to stand with America.”);
Remarks by President Obama, Dec. 10, 2009 (“peace is unstable where citizens are denied the right to speak freely
or worship as they please; choose their own leaders or assemble without fear… No matter how callously defined,
neither America’s interests – nor the world’s – are served by the denial of human aspirations.”); Remarks by
President Biden, Oct. 15, 2021 (“Demonstrating that our commitment to human rights begins at home is among the
most powerful and persuasive tools in our foreign policy kit.”).
7
          See, e.g., Remarks by President Reagan, Dec. 10, 1984 (“The American people recognize that it is the
denial of human rights, not their advocacy, that is a source of world tension.”); Remarks by President Reagan, Nov.
21, 1985 (“We Americans believe that history teaches no clearer lesson than this: Those countries which respect the
rights of their own people tend, inevitably, to respect the rights of their neighbors. Human rights, therefore, is not an
abstract moral issue; it is a peace issue.”); Remarks by President Obama, May 28, 2014 (“America’s support for
democracy and human rights goes beyond idealism – it is a matter of national security… Respect for human rights is
an antidote to instability and the grievances that fuel violence and terror.”).
8
        Again, the foreign policy conduct of many administrations has fallen far short of public commitments on
human rights, including through highly selective criticism of violations and a willingness to turn a blind eye toward
human rights abuses by U.S. partners. But rhetorical commitment by Presidents and Secretaries of State throughout
modern history demonstrates the continuing importance of the principle to U.S. national and foreign policy interests.
9
          See, e.g., Remarks by Secretary Blinken, Mar. 30, 2021 (“We will bring to bear all the tools of our
diplomacy to defend human rights and hold accountable perpetrators of abuse… Standing up for human rights
everywhere is in America’s interests… Standing for people’s freedom and dignity honors America’s most sacred
values.”); Remarks by Secretary Pompeo, Mar. 13, 2019 (“our committed defense of human rights stems from
America’s founding principles.”); Written Statement by Secretary Tillerson, Mar. 6, 2017 (“Promoting human rights
and democratic governance is a core element of U.S. foreign policy… Our values are our interests when it comes to
human rights.”); Remarks by Secretary Kerry, Apr. 19, 2013 (“promoting human rights isn’t a foreign policy
priority simply because it’s the right thing to do. It’s tied to our own security. It’s tied to the possibilities of
prosperity and of nations living by rule of law and of nations living in peace… Because part of the American spirit
is the fierce belief in the dignity and potential of every single person, part of American leadership is speaking out for

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 Case 2:25-cv-01963-MEF-MAH                      Document 284-14              Filed 06/05/25          Page 7 of 13
                                                  PageID: 3540



      Targeting Dissent as a Tool of Autocracies and Other Undemocratic Governments

        11.    Among my duties as Deputy Assistant Secretary of State for Democracy, Human
Rights, and Labor, I daily monitored and assessed human rights conditions across the Middle
East and North Africa, as well as human rights issues relating to the provision of U.S. security
assistance worldwide. This included reviewing diplomatic, intelligence, media, and NGO
reporting; meeting and speaking directly with human rights defenders, journalists, civil society

people who can’t speak for themselves. It’s also standing up for those who fight for their own rights – as I said,
sometimes in the most desolate places, without support. It is our effort to stand up for the universal rights of all
people.”); Remarks by Secretary Clinton, Apr. 8, 2011 (“Here at the State Department, human rights is a priority
365 days a year… because it actually is in line with our values, our interests, and our security.”); Remarks by
Secretary Rice, Mar. 8, 2006 (“Our promotion of human rights and democracy is in keeping with America’s most
cherished principles and it helps to lay the foundation for lasting peace in the world.”); Remarks by Secretary
Powell, Mar. 4, 2002 (“the American people are united in the conviction that active support for human rights must
be an integral part of American foreign policy. The United States will be a steadfast friend to men and women
around the world who bravely seek to improve the observance of international human rights standards within their
own countries and worldwide.”); Remarks by Secretary Albright, Dec. 6, 2000 (“Respect for human rights belongs
within the heart of American foreign policy… That is where it ought to stay for many years to come.”); Remarks by
Secretary Christopher, Dec. 10, 1996 (“We have to be vigilant in defending human rights and political freedom”);
Remarks by former Secretary Baker, Apr. 10, 2011 (“I think we need to be clear that we’re going to always support
our principles and values, that is the promotion of democracy and the protection of human rights, politically,
diplomatically and economically”); Remarks by Secretary Schultz, Feb. 22, 1984 (“moral values and a commitment
to human dignity have been not an appendage to our foreign policy but an essential part of it, and a powerful
impulse driving it. These values are the very bonds that unite us with our closest allies, and they are the very issues
that divide us from our adversaries… It is the difference between tyranny and freedom – an age-old struggle in
which the United States never could, and cannot today, remain neutral.”); Remarks by Secretary Haig, May 15, 1981
(“Let me deal first with the question of whether a concern for human rights is compatible with the pursuit of
America’s national interest. My answer to this is a resounding ‘yes.’ The supreme American national interest is
simple and compelling: we want a world hospitable to our society and our common ideals. As a practical matter, our
national interest requires us to resist those who would extinguish those ideals and are hostile to our common
aspirations… Human rights are not only compatible with our national interest, they are an integral element of the
American approach – at home and abroad.”); Remarks by Secretary Muskie, Aug. 7, 1980 (“There are those who
suggest that the freedom of other people is none of our business, that with enough military hardware our freedom
can be secure while the freedom of others is stifled, that our purpose in the world is to preserve the status quo. I say,
and I believe you say, that is an invitation to trouble. It is a narrow vision of ourselves and of the world… If we do
not promote freedom in the world, there will be less freedom in the future for Americans.”); Remarks by Secretary
Vance, Apr. 30, 1977 (“Our concern for human rights is built upon ancient values. It looks with hope to a world in
which liberty is not just a great cause, but the common condition. In the past, it may have seemed sufficient to put
our name to international documents that spoke loftily of human rights. That is not enough. We will go to work,
alongside other people and governments, to protect and enhance the dignity of the individual.”); Remarks by former
Secretary Rusk, ca. 1985 (“I know that there are countries in which human rights are in a better position because of
the continuous and steady influence of the United States… a number of places where human rights matters were
taken more seriously because of us. I would hope that we would continue to work at it that way.”); Remarks by
Secretary Marshall, Sep. 23, 1948 (“Not only is it appropriate that we should here reaffirm our respect for the human
rights and fundamental freedoms, but that we should renew our determination to develop and protect those rights
and freedoms… Systematic and deliberate denials of basic human rights lie at the root of most of our troubles… It is
not only fundamentally wrong that millions of men and women live in daily terror of secret police, subject to
seizure, imprisonment or forced labor without just cause and without fair trial, but these wrongs have repercussions
in the community of nations. Governments which systematically disregard the rights of their own people are not
likely to respect the rights of other nations and other people, and are likely to seek their objectives by coercion and
force in the international field.”); cf. Statement by then-Senator Rubio, Mar. 31, 2021 (“As Americans who are
blessed to live in this great country, we have a moral obligation and a strong national security interest to defend and
promote the fundamental rights of all people.”).

                                                           6
 Case 2:25-cv-01963-MEF-MAH                      Document 284-14               Filed 06/05/25          Page 8 of 13
                                                  PageID: 3541



activists, and foreign government officials; and collaborating with experts across the State
Department, the broader U.S. Government, and nongovernmental organizations in the United
States. Beyond this daily human rights diplomacy and analysis, I also supervised the
compilation of the Department of State’s annual Human Rights Reports for countries across the
Middle East and North Africa covering calendar years 2020 through 2023.

        12.      Under international human rights law, all persons are entitled to the right to
freedom of expression10 and the right to freedom of peaceful assembly,11 and are entitled to be
free from arbitrary detention.12 For detention to be considered “arbitrary” under international
law, it must not be unlawful under domestic law, and also must not be unjust, unpredictable, or
disproportionate to a legitimate state interest pursued by the government.13 Over the decades
since the UDHR and ICCPR were adopted, judicial and scholarly interpretations of the interplay
between these rights has established that when an individual is deprived of liberty in response to
their exercise of fundamental rights like freedom of expression, that detention is by definition
“arbitrary.”14 International jurists have clarified further that any government restrictions on the
fundamental rights to freedom of expression or freedom of peaceful assembly not only must be
in pursuit of a legitimate state interest (vice designed merely to quash the exercise of those


10
           See UDHR, art. 19 (“Everyone has the right to freedom of opinion and expression; this right includes
freedom to hold opinions without interference and to seek, receive and impart information and ideas through any
media and regardless of frontiers.”); ICCPR, art. 19(1)-(2) (“Everyone shall have the right to hold opinions without
interference. Everyone shall have the right to freedom of expression; this right shall include freedom to seek, receive
and impart information and ideas of all kinds, regardless of frontiers, either orally, in writing or in print, in the form
of art, or through any other media of his choice.”).
11
          See UDHR, art. 20(1) (“Everyone has the right to freedom of peaceful assembly and association.”); ICCPR,
art. 21 (“The right of peaceful assembly shall be recognized. No restrictions may be placed on the exercise of this
right other than those imposed in conformity with the law and which are necessary in a democratic society in the
interests of national security or public safety, public order (ordre public), the protection of public health or morals or
the protection of the rights and freedoms of others.”).
12
         See UDHR, art. 9 (“No one shall be subjected to arbitrary arrest, detention or exile.”); ICCPR, art. 9(1)
(“Everyone has the right to liberty and security of person. No one shall be subjected to arbitrary arrest or
detention.”).
13
         See UN Human Rights Committee, General Comment 35, Dec. 16, 2014, para. 12 (“An arrest or detention
may be authorized by domestic law and nonetheless be arbitrary. The notion of ‘arbitrariness’ is not to be equated
with ‘against the law,’ but must be interpreted more broadly to include elements of inappropriateness, injustice, lack
of predictability and due process of law, as well as elements of reasonableness, necessity and proportionality.”).
14
          See, e.g., UN Human Rights Committee, General Comment 35, para. 17 (“Arrest or detention as
punishment for the legitimate exercise of the rights as guaranteed by the [ICCPR] is arbitrary, including freedom of
opinion and expression, freedom of assembly, freedom of association, freedom of religion and the right to privacy.”)
(internal citations omitted); UN Working Group on Arbitrary Detention, Op. No. 2022/24 (Belarus), May 25, 2022
(finding the politically-motivated detention of an opposition lawyer was “arbitrary” as it was “quite clear to the
Working Group that the basis for the arrest and subsequent detention of Mr. Znak was in fact his exercise of
freedom of expression and freedom of assembly as well as the right to take part in public affairs of Belarus. There is
no evidence whatsoever that any of his actions have been violent, that he incited violence or that his actions have
indeed led to violence perpetrated by others.”); UN Working Group on Arbitrary Detention, Op. No. 2020/86 (Saudi
Arabia) (finding the detention of a Shi’a cleric in response to his criticism of sectarian violence and sectarian
discrimination to be “arbitrary” given his detention “resulted from the active exercise of civil and political rights”).

                                                            7
 Case 2:25-cv-01963-MEF-MAH                    Document 284-14             Filed 06/05/25          Page 9 of 13
                                                PageID: 3542



rights), but also must be undertaken in the manner that is least intrusive to the exercise of those
fundamental rights.15

         13.     Arbitrary detention is a silent weapon of modern autocracy. Undemocratic
governments the world over employ arbitrary detention to suppress dissent, entrench power, and
stifle protest movements, attempting to stem public outcry and prevent the legitimate public
criticism, protest, and debate that is essential to functional democracy. By targeting dissent and
other critical speech through arbitrary detention, undemocratic regimes seek to sever the
lifeblood of protest movements, including the ability of individuals and groups to communicate,
organize, and express political will, aiming to incapacitate political critics and to infect society
with fear and intimidation. Particularly when employed against individuals criticizing
government policy, arbitrary detention seeks to punish the very acts (e.g., protests or speech
aimed at raising public awareness) that otherwise could enable legal or political accountability
for the disfavored policy. Frequently used selectively to publicly target high-profile protestors,
arbitrary detention is a tool of repression calculated to inspire fear in individuals, communities,
and movements who disagree with government policies, sending the chilling message that the
mere exercise of fundamental freedoms of expression or assembly could lead to detention,
imprisonment, deportation, or disappearance.

         14.    Within the region on which I worked most closely during my most recent service
at the Department of State, such abuses are sadly commonplace. In Egypt, the el-Sisi
government has arrested and detained many thousands of human rights defenders, journalists,
activists, opposition politicians, and even ordinary citizens, abusing vaguely-worded laws to
detain or imprison for years individuals whose only “offense” was criticism of government
policies. The Iranian regime has arrested and tortured thousands of protesters and dissenters,
especially during and after the 2022 protests sparked by Mahsa Zhina Amini’s death in custody,
citing vague national security charges and consistently depriving defendants of due process as
punishment for protests demanding simply respect for basic human rights. In Saudi Arabia,
women who have demanded equal treatment under law and ordinary citizens who have criticized
the autocratic behavior of Crown Prince Mohammed bin Salman have found themselves
sentenced to lengthy prison sentences after closed trials by state security courts; some were
convicted after being pressured to repatriate or extradited from other countries on charges related
to critical speech, while others like Washington Post columnist (and U.S. Legal Permanent
Resident) Jamal Khashoggi have faced fates far worse than arbitrary detention, including torture
and extrajudicial execution at the hands of the government. In the United Arab Emirates,
authorities have imprisoned activists, lawyers, and students, holding many of them
incommunicado for long periods of time simply for forming an independent advocacy group that
publicly recommended changes to government policy, even going so far as to re-convict and re-
sentence many of them on the same charges years later to ensure their continued detention.




15
          See, e.g., UN Human Rights Committee, General Comment 34, Jul. 29, 2011, para. 23 (government
restrictions on the exercise of freedom of expression “may never be invoked as a justification for the muzzling of
any advocacy of multi-party democracy, democratic tenets and human rights. Nor, under any circumstance, can an
attack on a person, because of the exercise of his or her freedom of opinion or expression, including such forms of
attack as arbitrary arrest, torture, threats to life and killing, be compatible with [ICCPR] article 19.”).

                                                          8
Case 2:25-cv-01963-MEF-MAH                  Document 284-14           Filed 06/05/25        Page 10 of 13
                                             PageID: 3543



        15.     There are myriad further examples of governments in other parts of the world as
well that utilize arbitrary detention to target the expression of critical or dissenting speech. The
Chinese government has institutionalized arbitrary detention as a tool of ideological control and
political repression, systematically targeting lawyers, journalists, and civil society activists under
vague statutes that criminalize “picking quarrels and provoking trouble,” and detaining or
disappearing rights advocates and government critics; its massive incarceration of more than a
million Uyghurs and other ethnic minorities in “re-education camps” in Xinjiang aims to silence
not only individual critics, but entire communities. Russia under Putin has aggressively used
arbitrary detention to extinguish political opposition, control public narratives, and prevent
widespread protest; beyond the poisoning and imprisonment of iconic human rights defender
Alexei Navalny (who later died in a Siberian gulag), the Russian government has preemptively
detained thousands of demonstrators nationwide ahead of planned protests using broad laws
banning “unauthorized” gatherings and legislation criminalizing public statements that
“discredit” the Russian military. The Lukashenko regime in Belarus used mass arbitrary arrests
to quash 2020 pro-democracy protests, sentencing and imprisoning opposition leaders through
closed-door trials that came nowhere near international standards for fairness. In Maduro’s
Venezuela, authorities routinely have detained activists, opposition politicians, and even
government employees and health workers, for criticizing government maladministration,
relying on a controversial and vague law criminalizing acts that “incite hatred.” Cuba’s one-party
state has long used speech-related detention to maintain political control, including in response to
protests demanding adequate food and medicine, relying on vague criminal laws covering
contempt and public disorder to punish and suppress criticism of government policies and
government shortcomings.

        16.      Details of the practice of arbitrary detention have been well documented
historically in the annual Human Rights Report by the Department of State; sadly, even more
examples abound in countries beyond those noted above.16

        17.     The use of arbitrary detention by governments to suppress criticism and speech is
particularly potent in extinguishing fundamental human rights when a country’s judiciary lacks
independence, or where the judiciary is overly influenced by the executive. In these instances,
judges perform little to no independent fact-finding to test the government’s assertions that an
individual has committed a criminal act, or they fail to appropriately tailor the government’s
overbroad interpretations of laws and thus allow the criminalization of speech or conduct
constituting the exercise of universal human rights. In each of the countries noted above as well
as numerous others, judges effectively operate as arms or subsidiaries of the executive, lacking
the independence from the government needed for them to preserve the rule of law and respect
for fundamental freedoms. Some, like Saudi Arabia’s Specialized Criminal Court or Egypt’s
terrorism courts and state security emergency courts, have been reported to all-but-explicitly take
direction from government officials. Others, like courts in Egypt, the UAE, or Iran, regularly
have convicted protestors and dissidents on vague charges like “spreading false news” or
“inciting hatred” in response to critical speech. Still others, like Qatar, have deported
immigrants who held legal status after they peacefully protested mistreatment, in a clear effort to

16
       For recent examples, see generally Department of State, 2023 Country Reports on Human Rights Practices;
Department of State, 2022 Country Reports on Human Rights Practices; Department of State, 2021 Country Reports
on Human Rights Practices; Department of State, 2020 Country Reports on Human Rights Practices.

                                                      9
Case 2:25-cv-01963-MEF-MAH              Document 284-14          Filed 06/05/25      Page 11 of 13
                                         PageID: 3544



silence criticism by demonstrating protestors’ vulnerability as noncitizens. In these and other
countries, courts have based convictions of government critics on unreliable evidence, including
coerced confessions and biased media or other sources. The lack of judicial independence and
the inability or unwillingness by judges to stand up against governments targeting critics and
dissidents potently multiplies the harm and risk of arbitrary detention.

        18.     Both globally and in the United States, the protection of speech and especially of
the expression of dissent or criticism of government policy remains essential for the health of a
country’s democracy. From its founding through to the present, the United States has uniquely
emphasized the paramount value that free expression has for the very concept of America, and
has infused that commitment and principle into U.S. foreign policy. In my service at the
Department of State, this primacy of free expression regularly invited tensions with counterparts
from undemocratic governments, who argued it was better to emphasize societal cohesion or the
preferences of the government or a popular majority (actual or simply imagined by a leader
unbound by fair elections) over the rights of an individual to express criticism or dissent toward
government policy. Even some of America’s closest allies and partners in Europe, themselves
robust democracies with admirable human rights records, advanced slightly more restrictive
definitions of the right to free expression than the United States, in part given their histories with
inciteful hate speech leading to catastrophic violence. No matter the interlocutor, I
communicated to foreign counterparts, just as countless U.S. diplomats for decades have done,
that not only does protecting critical or dissenting speech reinforce universal human rights; doing
so also enhanced societal stability, by permitting grievances to be aired peacefully, and promoted
more effective governance and policy by allowing feedback from civil society as well as legal
and political accountability where government policies or programs fall short of their goals or of
public desires, or where government policies or programs were marred by corruption or
mismanagement.

         19.    The dangers of abandoning protections for dissenting or critical speech can be
seen in the present and the past in societies across the Middle East and North Africa and
elsewhere around the world. When a government is allowed to decide which speech it will
tolerate and which speech it will not, the result throughout history has been a broadening
crackdown that puts any government critic – citizen and noncitizen alike – squarely in the
crosshairs of state repression. As noted above, critics or dissidents in countries with
undemocratic governments unchecked by the rule of law or by independent judicial bulwarks
regularly face grim fates, ranging from arbitrary detention to torture to disappearance and
extrajudicial execution. Their societies suffer similar decay. The instability inherent in a system
where dissent is met with detention or violence regularly leads to increased criticism and protest
of that intolerance and abuse, which the government usually meets with further suppression of
freedoms. Historically, this downward spiral that begins with government intolerance of critical
or dissenting expression typically continues toward one of two outcomes: either a population
crumbles under government repression, accepting official censorship and even self-censoring to
avoid punishment, or a society decides it is unwilling to live without the ability of individuals to
freely express themselves without fear of reprisal, and seeks to replace wholesale a repressive
government with one that better respects their human rights.




                                                 10
Case 2:25-cv-01963-MEF-MAH              Document 284-14         Filed 06/05/25      Page 12 of 13
                                         PageID: 3545



        20.     During my service as Deputy Assistant Secretary in the Bureau of Democracy,
Human Rights, and Labor at the Department of State, I observed firsthand how one of the most
important tools of American diplomatic influence and power was the resilience and strength of
our democratic values, including the importance of protecting human rights both at home and
abroad, especially for individuals expressing criticism or dissent from government actions. In
my official travels to the Middle East and North Africa, I met with numerous human rights
defenders, journalists, activists, opposition politicians, academics, and business leaders, each
keen to highlight threats to human rights or rule of law they and others faced in their country,
and each eager to learn about and recommend avenues that the United States could follow to
support progress and greater respect for human rights. I never approached these conversations,
or those with foreign government officials with whom I raised concerns over their human rights
practices, by presenting the United States as having achieved perfection or anything approaching
it when it came to our own human rights record. Rather, I reflected with pride upon the
constitutional and statutory guarantees the United States had enacted to protect human rights at
home; reflected with humility on the yawning gaps between the promises of those guarantees and
their actual implementation over American history, especially for Americans from marginalized
populations; and reflected with commitment on the ongoing efforts by the U.S. Government to
work to further close that gap.

         21.     My interlocutors in civil society, each of them fighting for progress on human
rights issues in their own country, understood as I do that the struggle to protect human rights is
not just generational, but likely unending. Yet the brave human rights defenders with whom I
met (sometimes amid visible surveillance by their government) also recognized the deep
contribution to global progress on human rights that came not only from concrete improvements
on these issues in the United States (halting and uneven as those have been), but also from
America’s consistent and continued rhetorical and philosophical commitment to human rights as
a core element of our foreign policy and of our approach to governments around the world. I
was repeatedly told that the continued attention of the U.S. Government to human rights
conditions in their countries was a powerful tool to prevent or mitigate abuses, and that the
bathing of America’s historical founding in the language of human rights gave the United States
unique standing on the issue. When asked on a trip to Egypt in mid-November 2024 whether
that fundamental American commitment and precept would disappear with the re-election of
President Trump, I urged Egyptian human rights advocates to recall the strength of American
institutions – including the judiciary, legislature, and rule of law – as checks against an executive
that might try to abandon the bipartisan history of U.S. commitment to human rights.

         22.    Just a few short months after that confident exhortation about the strength of
American institutions, Mr. Khalil’s case has obtained world-wide notoriety, as have the cases of
other student protestors in the United States whom the government has arrested and detained
pursuant to Determinations by Secretary Rubio that their free expression and other speech
activities supposedly undermine the foreign policy interests of the United States. Amid a
yearslong trend of democratic backsliding worldwide, the clear commitment of the United States
to universal human rights – especially the right to free expression and the ability to peacefully
dissent and criticize government policy without reprisal – is needed more than ever. Should the
U.S. Government be permitted to claim that suppressing the ability of individuals in the United
States to exercise universal human rights enshrined in the U.S. Constitution, that precedent will


                                                 11
Case 2:25-cv-01963-MEF-MAH                   Document 284-14             Filed 06/05/25         Page 13 of 13
                                              PageID: 3546



diminish the capability of the United States to execute the longstanding bipartisan foreign policy
objective of standing up for human rights and democracy worldwide, an objective that has been
pursued (unevenly, admittedly) across administrations of both parties for decades. Moreover,
allowing the Federal government to carry out reprisals against individuals as a response to
dissent, protest, or critical speech that the current administration dislikes would strike a serious
blow against the health and stability of American democracy; would deal serious damage to U.S.
credibility worldwide on human rights issues; and would make every person in the United States
– noncitizens and citizens alike – far less safe and far less free.17




                                                     _______________________________________
                                                     Christopher J. Le Mon

Sworn on this 4th day of
       June, 2025




17
         See, e.g., Letter from George Washington to Officers of the Army, Mar. 15, 1783 (“For if Men are to be
precluded from offering their sentiments on a matter, which may involve the most serious and alarming
consequences, that can invite the consideration of Mankind; reason is of no use to us – the freedom of Speech may
be taken away – and, dumb & silent we may be led, like sheep, to the Slaughter.”).

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